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                                UNITED STATES DISTRlCT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

   NATALIE SUESCAN
   As the natural parent of
    EMILY ELISE HERNANDEZ,

            Plaintiff,

   V.


   DURACELL, INC. a/k/a
   THE DURACELL COMPANY
   AND WALGREEN CO., a
   foreign profit corporation,


   ________________
     Defendants.
                   /

             DEFENDANT'S, DURACELL, INC. a/k/a THE DURACELL COMPANY'S
                              NOTICE OF REMOVAL

            Defendant, DURACELL, INC. a/k/a THE DURACELL COMPANY (hereinafter

   '"Defendant" or "Duracell") by and through the undersigned counsel hereby gives notice that the

   action Natalie Suescan, as the natural parent of Emily Elise Hernandez v. Duracell, Inc. a/k/a The

   Duracell Company, et al. Case No.: 2020-000810-CA-01 in the Circuit Court of the Eleventh

   Judicial Circuit Court for Miami Dade County, Florida is removed to the United States District

    Court in and for the Southern District of Florida, Miami Division.


                                    GROUNDS FOR REMOVAL


             1.     On January 14, 2020, NATALIE SUESCAN, as the natural parent of EMILY

    ELISE HERNANDEZ (hereinafter "Plaintiff') filed this personal injury action against Defendant

    Duracell and Defendant Walgreen Co. in the Circuit Court of the Eleventh Judicial Circuit in and




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   for Miami Dade County, Florida styled Natalie Suescan, as the natural parent of Emily Elise

   Hernandez v. Duracell, Inc. a/k/a The Duracell Company, et al. Case No.: 2020-00081O-CA-01.

              2.      Defendant Duracell was served with the Complaint on January 30, 2020. This

   Notice of Removal is filed within thirty days of January 30, 2020.

              3.      This Court has jurisdiction of this action under diversity jurisdiction pursuant to 28

   U.S.C. §§ 1332, 1441, and 1446.

              4.      Pursuant to U.S.C. §§ 1332(a), federal courts have diversity jurisdiction when the

   suit involves a controversy between citizens of different states and the amount in controversy

   exceeds $75,000, exclusive of interest and costs. U.S.C. §§ 1332(a); Palmer v. Hosp. Auth., 22

   F.3d 1559, 1564 (11 th Cir. 1994).

              5.      Complete diversity exists between the parties in accordance with 28 U.S.C. § 1332.

              6.      Pursuant to 28 U.S.C. § 1441(a), "any civil action brought in a State court of which

   the district courts of the United States have original jurisdiction, may be removed by the

   defendant."

              7.      This Notice of Removal is timely under 28 U.S.C. §§ 1446(b), which provides that

   "the notice of removal of a civil action or proceeding shall be filed within 30 days after the receipt

   by the defendant, through service or otherwise, of a copy of the initial pleading setting forth the

   claim for relief upon which such action or proceeding is based .... "

              8.      In accordance with 28 U.S.C. §§ 1446(a), copies of all pleadings filed in this action

   in the State Court are attached to this notice as composite Exhibit A.

                   JOINDER AND CONSENT OF CO-DEFENDANT, WALGREENS CO.




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            9.     Defendant Walgreens Co. (hereinafter "Walgreens") was served with the Plaintiffs

    Complaint on January 28, 2020. Subsequently, Walgreens filed a motion to dismiss, which is

    included within composite Exhibit A.

            10.    Since Walgreens filed its motion to dismiss in State Court, Walgreens tendered the

    defense and indemnification of this matter to Duracell and Duracell recently accepted the tender.

    Counsel for Duracell recently substituted in as counsel for Walgreens. Undersigned counsel is

    currently representing both Duracell and Walgreens. See Order on Walgreens' Substitution of

    Counsel attached within composite Exhibit A.

            11.    Undersigned counsel has conferred with Walgreens Co. regarding this removal.

    Walgreens Co. consents to the removal of this action and undersigned counsel will be filing a

    notice of consent and joinder to this motion immediately after this motion is filed. A copy of

    Walgreens' Notice of Consent and Joinder to Duracell's Notice of Removal is attached hereto as

    Exhibit B.

                                    DIVERSITY OF CITIZENSHIP

            12.    Complete diversity of citizenship exists between the Plaintiff and the Defendants.

            13.    Upon information and belief, Plaintiff is currently a resident and a citizen of the

    State of Florida.

            14.    Upon information and belief, Plaintiff was a resident and citizen of Miami-Dade

    County, Florida at the time this action was filed. See Plaintiff's redacted medical records attached

   to Plaintiff's demand letter attached hereto as Exhibit C.

             15.   None of the Defendants are citizens or residents of the State of Florida

            16.    For purposes of determining its citizenship under 28 USC§ 1332(c)(l), Defendant

   Duracell, Inc. a/k/a The Duracell Company (hereinafter "Duracell") is currently, and was at the



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    time Plaintiff commenced this action, a citizen of the State of Delaware because Duracell was

    incorporated in the State of Delaware.

              17.    Defendant Duracell's principal place of business is currently, and was at the time

    Plaintiff commenced this action, located in Wilmington, Delaware; accordingly, Defendant

    Duracell is also a citizen of the State of Delaware under 28 USC§ 1332(c)(l).

              18.    For purposes of determining its citizenship under 28 USC§ 1332(c)(l), Defendant

    Walgreens is currently, and was at the time Plaintiff commenced this action, a citizen of the State

    of Illinois because Walgreens was incorporated in the State of Illinois.

             19.     Defendant Walgreens' principal place of business is currently, and was at the time

    Plaintiff commenced this action, located in Deerfield, Illinois; accordingly, Defendant Walgreens

    is also a citizen of the State of Illinois under 28 USC§ 1332(c)(l).

             20.     The Plaintiff, Defendant Duracell, and Defendant Walgreens are the only three

    parties to this action. Accordingly, complete diversity of citizenship exists under 28 USC§ 1332.

                                     AMOUNT IN CONTROVERSY

             21.     The amount in controversy exceeds $75,000, exclusive of interest and costs.

    Although the Complaint filed in state court merely alleges that Plaintiffs damages exceed $15,000,

    Defendant Duracell can establish, by a preponderance of the evidence, that the amount in

    controversy in this case "can more likely than not be satisfied." Kirkland v. Midland Mortg. Co.,

    243 F.3d 1277, 1281 n.5 (11 th Cir. 2001); Williams v. Best Buy Co., 269 F.3d 1316 (11th Cir. 2001)

    (When the "jurisdictional amount is not facially apparent from the complaint, the court should look

    to the notice of removal and may require evidence relevant to the amount in controversy at the

    time the case was removed" in determining if the amount in controversy exceeds the jurisdictional

    requirement.).



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            22.   If it is not apparent from the complaint that the amount in controversy exceeds

   $75,000, then the Notice of Removal may be filed 30 days after defendant first learns that the claim

    exceeds $75,000 through an amended pleading, motion, order or other paper. See 28 U.S.C. §

    1446(b).

            23.    Courts in this District have determined that "other paper" is a broad term and can

   be "responses to request for admissions, settlement offers, and other correspondence between

    parties." Lambertson v. Go Fit LLC, 918 F. Supp. 2d 1283, 1285 (S.D. Fla. 2013); See Weisler

    v. Safeco Inc. Co., 2014 U.S. Dist. LEXIS 188510, *4, 14-CV-81107-KLR (S.D. Fla. Nov. 14,

   2014) (considering pre-suit demand letter to establish amount in controversy requirement for

   removal); See Katz v. J.C. Penney Corp. Inc., 2009 WL 1532129 (S.D. Fla. 2009) (finding that

   pre-suit demand letter constituted "other paper" to determine the amount in controversy exceeds

   the jurisdictional threshold).

            24.   Additionally, a district court may consider evidence outside of the removal petition

    if the facts therein existed at the time of removal. Katz v. J.C. Penney Corp., Inc., 2009 WL

    1532129, at *4 (citing Williams v. Best Buy Co., 269 F.3d 1316, 1320 (11 th Cir. 2001) and

   Sierminski v. Transouth Financial Corn., 216 F.3d 945,949(11 th Cir. 2000)).

            25.    While a pre-suit demand letter alone may not be determinative of the amount in

   controversy when it reflects mere puffing and posturing, a demand letter that provides specific

    information to support the plaintiff's claim for damages is entitled to more weight because such

    supporting information serves as evidence that a demand letter is an honest assessment of damages.

    See Moses v. Home Depot U.S.A.. Inc., 2013 WL 11977917, at *3 (S.D. Fla 2013).

            26.   In this case, Plaintiff is seeking more than $75,000, exclusive of interest and costs,

   in damages from Defendants as a result of the loss described in the Complaint. Plaintiff's demand



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    letter dated December 11, 2017 alleged in detail that due to the subject incident, Plaintiff suffered

    second and third degree chemical bums to her right thigh that resulted in permanent scarring of

    the thigh. A copy of Plaintiff's demand letter dated December 11, 2017 is attached hereto as

    Exhibit C.

             27.   Further, Plaintiff alleges in the Complaint that, as a result of Defendants'

    negligence, Plaintiff "suffered bodily injury and resulting pain and suffering, disability,

    disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

    hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn

    money and aggravation of a previous existing condition ... " ~ Complaint, Exhibit A.

             28.   Plaintiff's Complaint states that Plaintiff's "losses are either permanent or

    continuing and Plaintiff will suffer the losses in the future." See Complaint, Exhibit A.

             29.   This demonstrates that Plaintiff's alleged damages far exceed the jurisdictional

    threshold of this Court and that Plaintiff's pre-suit settlement demand for $125,000 was not mere

    puffing, but reflected Plaintiffs honest assessment of damages.

             30.   Based on this Court's prior decisions above, the serious allegations in the

    Complaint, coupled with Plaintiffs pre-suit settlement demand seeking $125,000, are sufficient

    for Defendant to demonstrate that the amount in controversy easily exceeds $75,000, exclusive of

    interest and costs, by a preponderance of the evidence.

             31.   This Notice of Removal is timely because it is filed within thirty (30) days of

    service of process of the Complaint on January 30, 2020.

                         COMPLIANCE WITH REMOVAL PROCEDURES

             32.   As required by 28 U.S.C. § 1446(d), Defendant filed a true and correct copy of this

    Notice of Removal with the Clerk of the Circuit Court of the Eleventh Judicial Circuit in and for



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   Miami Dade County, Florida. A copy of the Notice of Filing the Notice of Removal is attached

   hereto as Exhibit D. Defendant also served this Notice of Removal upon all adverse parties on

   the date set forth in the Certificate of Service below.

            33.     The United States District Court for the Southern District of Florida, Miami Dade

   Division, is the district and division within which the state court action is pending.

            34.     Accordingly, Defendant Duracell has satisfied all the removal prerequisites of 28

   u.s.c. § 1446.
            WHEREFORE, Defendant DURACELL, INC. a/k/a THE DURACELL COMPANY,

   notices this civil action to be removed to federal court as provided by law.

            I HEREBY CERTIFY that on February 27, 2020, the foregoing document was

   electronically filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record or pro se parties identified on the

   attached Service List in the manner specified, either via transmission of Notices of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

   are not authorized to receive electronically Notices of Electronic Filing.




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